Case 2:11-cr-00984-RJS Document 289 Filed 02/03/17 PageID.3692 Page 1 of 17




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                         IN THE UNITED STATES DISTRICT COURT

                          DISTRICT OF UTAH, CENTRAL DIVISION

                                               )
UNITED STATES OF AMERICA,                      )
                                               )
                       Plaintiff,              )
           vs.                                 )
                                               )   Case No. 2:11-CR-00984-001 RJS
ROBERT LEE HOLLOWAY,                           )   & 2:11-CR-00985-RJS
                                               )
                       Defendant.              )   MOTION FOR RECONSIDERATION
                                               )   OF DEFENDANT ANDRES’ MOTION
                                               )   FOR APPLICATION OF
UNITED STATES OF AMERICA,                      )   FORECLOSURE PROCEEDS TO
                                               )   RESTITUTION BALANCE
                       Plaintiff,              )
           vs.                                 )   Honorable Robert J. Shelby
                                               )
ROBERT J. ANDRES,                              )
                                               )
                       Defendant.              )
                                               )

         The United States of America (“the United States”) moves this Court to reconsider its

decision granting Defendant Robert Andres’ Motion for Timely Mailings and Proper Restitution

Credit.1 As shown below, none of the $16,734.89 that the Receiver recovered from the foreclosure

of Mr. Andres’ house ever reached the victims, and, therefore, neither he nor Mr. Holloway may

receive any credit for this recovery under the victim’s rights statutes. Granting Mr. Andres’



1
    Dkt. 122.
Case 2:11-cr-00984-RJS Document 289 Filed 02/03/17 PageID.3693 Page 2 of 17




motion, and thereby adding $16,734.89 to the total restitution credits, confers a windfall upon Mr.

Andres and works a manifest injustice to the victims.

                                          BACKGROUND

        Defendant Andres pleaded guilty to Wire Fraud on August 21, 2013, and, on December

17, 2014, he was sentenced to 56 months in prison, three years of supervised release, $3,291,310.39

in restitution, and a $100 special assessment fee. The restitution payees were left, “To be

determined.”2 Defendant Holloway, Defendant Andres’ partner in the Ponzi scheme, was found

guilty of Wire Fraud and Making and Subscribing a False Income Tax Return, and on December

17, 2014, he was sentenced to 225 months in prison, three years of supervised release,

$15,200,000.00 in restitution, and a $100 special assessment fee. The restitution payees were left,

“To be determined.”3 On February 10, 2015, a Final Restitution Order was entered under seal

requiring restitution payments to be submitted to Receiver Wayne Klein for distribution to the

victims according to the scheme set forth in the Order. 4 Mr. Andres’ and Mr. Holloway’s

restitution orders are not joint and several.5

        Prior to the above criminal prosecutions, the U.S. Commodity Futures Trading

Commission brought a civil action against Defendant Andres and Defendant Holloway and their

entities, U.S. Ventures, LLC and Winsome Investment Trust, asserting claims for violations of the

Commodity Exchange Act, which arose from the same wrongful actions as the above criminal

cases.6 On January 25, 2011, the court appointed Mr. Klein as the Receiver of U.S. Ventures LC,



2
  Dkt. 73 and 102.
3
  2:11-CR-00984, Dkt. 248.
4
  Sealed Final Restitution Order of 2/10/15
5
  Dkt. 102; 2:11-CR-00984, Dkt. 248.
6
  2:11-CV-00099-BSJ, Dkt. 1
                                                 2
Case 2:11-cr-00984-RJS Document 289 Filed 02/03/17 PageID.3694 Page 3 of 17




Winsome Investment Trust, and the assets of Robert J. Andres and Robert L. Holloway.7 To date,

Mr. Klein has recovered $4,739,183.31. However, Mr. Klein has distributed $2,237,920.11 in

recovered funds to the victims (not including Holloway’s $700 restitution payment).8 According

to Mr. Klein, nearly 9 all of the funds that he disbursed to victims were recovered from third

parties. 10 However, the disbursed funds did not include the $16,734.89 in foreclosure sale

proceeds that he recovered from CitiMortgage because the fees and costs that Mr. Klein incurred

in his effort to recover those funds far exceeded the actual recovery, resulting in a net negative to

the receivership, which meant that none of that money was distributed to victims.11

       In his Declaration Mr. Klein describes in detail his efforts to recover the foreclosure

proceeds from Robert and Ursula Andres’ home at 10802 Archmont Drive, Houston, TX 77070

(“the Andres Home”), and the fees and costs he incurred in that effort. Robert Andres’ interest the

Andres Home became the property of the receivership upon Mr. Klein’s appointment; however,

Robert’s wife Ursula Andres asserted that she owned a 50% interest in the property.12 Ursula

Andres was the recipient of $311,075.00 that Winsome Investment Trust (an entity controlled by




7
  Declaration of Wayne Klein, p. 2, par. 2.
8
   Mr. Klein measured his total recovery by adding all deposits into the receivership’s three
accounts and eliminating all expenditures and transfers between accounts. Mr. Klein is holding
some funds to cover receivership expenses and anticipates making a final distribution of
approximately $225,000 to the victims. Declaration of Wayne Klein, p. 7-8, par. 17.
9
   As will be explained below, the undersigned learned on January 25, 2017, that the funds
disbursed to the victims included $896.19 recovered from the receivership defendants’ bank
accounts. Before January 25, 2017, the undersigned did not know these funds were included in
the distributions.
10
   Declaration of Wayne Klein, p. 6, par. 13.
11
   See Declaration of Wayne Klein.
12
   Declaration of Wayne Klein, p. 2-3, par. 5.
                                               3
Case 2:11-cr-00984-RJS Document 289 Filed 02/03/17 PageID.3695 Page 4 of 17




Robert Andres)13 fraudulently transferred to her, and on September 10, 2013, Mr. Klein obtained

a judgment against Ms. Andres for that amount.14 In granting summary judgment to Mr. Klein,

the court found that “the undisputed evidence in the record demonstrates that Winsome Investment

Trust was acting as a Ponzi scheme and, therefore, the transfers made to Defendant [Ursula

Andres] were made with the actual intent to defraud.”15 Mr. Klein sought to enforce the judgment

against Ursula Andres’ only asset of value, her 50% interest in the Andres Home. To do so, he

domesticated the judgment in Texas where the Andres Home is located – an effort that both Ursula

and Robert Andres opposed.16

       Meanwhile, on August 24, 2011, Mr. Klein received notice from counsel for CitiMortgage

that CitiMortgage was seeking to foreclose on the Andres Home based on the Andreses’ failure to

make mortgage payments.17 Mr. Klein negotiated a settlement with CitiMortgage that outlined a

process for allocating proceeds from the sale of the home upon foreclosure, and obtained the

receivership court’s approval of the settlement.18 After numerous and lengthy delays caused in

part by two bankruptcy petitions that Ursula Andres filed (both of which were dismissed within

two months for “failure to file information”),19 the Andreses’ opposition to domestication of the




13
   Declaration of Wayne Klein, p. 2, par. 2 (“Winsome was a self-described private trust,
headquartered in Houston, TX, run by Robert Andres who had complete and sole authority over
the trust.”).
14
   2:11-CV-00656-SA, Dkt. 28; Declaration of Wayne Klein, p. 2, par. 3-4.
15
   2:11-CV-00656-SA, Dkt. 28; Declaration of Wayne Klein, p. 2, par. 4.
16
   Declaration of Wayne Klein, p.2-3, par. 4-5.
17
   Declaration of Wayne Klein, p. 3, par. 6.
18
   Declaration of Wayne Klein, p. 3, par. 7-8.
19
   U.S. Bankruptcy Court, Southern District of Texas, Bankruptcy Petition # 4:13-BK-34925, filed
on 8/6/13 and dismissed on 9/24/13 for failure to file information; U.S. Bankruptcy Court,
Southern District of Texas, Bankruptcy Petition # 4:15-BK-32455, filed on 5/4/15 and dismissed
on 6/29/15 for failure to file information.
                                                4
Case 2:11-cr-00984-RJS Document 289 Filed 02/03/17 PageID.3696 Page 5 of 17




Receiver’s judgment in Texas, and unrealized offers by Robert Andres to bring the mortgage

current, CitiMortgage foreclosed on the home in or about June 2016.20 Pursuant to his settlement

agreement with CitiMortgage, Mr. Klein received $16,734.89 of the foreclosure sale proceeds.21

        Mr. Klein incurred considerable fees and costs in his hard-fought effort to recover the

equity in the Andres Home. In his declaration, Mr. Klein divides these costs into the following

four categories:

     1. $7,627.89 in property management fees. These include fees for managing the property

between the time Ursula Andres vacated the Andres Home and the time CitiMortgage completed

the foreclosure and was ready to take possession of the property. They also include the cost of

disposing of the personal property that Ursula Andres left in the home so that CitiMortgage could

assume possession of the home.22

     2. $7,419.98 in legal fees for domesticating the receivership’s judgment against Ursula

Andres in Texas, which Robert and Ursula Andres opposed. These fees were paid to the

receivership’s Texas counsel, Beck Redden, LLP.23

     3. $9,611.00 in Mr. Klein’s own fees. These fees pertain specifically to his effort to obtain

and enforce the civil judgment against Ursula Andres and the Andres Home, and his effort to

negotiate a settlement with CitiMortgage regarding the allocation of the foreclosure proceeds.24




20
   Declaration of Wayne Klein, p. 3, par. 9; Dkt. 122, p. 3 ($16,734.89 was recovered on June 6,
2016); Dkt. 123-1, p. 1 (the $16,734.89 was recovered from the foreclosure of the Andres Home).
21
   Declaration of Wayne Klein, p. 3, par. 10.
22
   Declaration of Wayne Klein, p. 4, par. 11(1), and Ex. A.
23
   Declaration of Wayne Klein, p. 4, par. 11(2), and Ex. B.
24
   Declaration of Wayne Klein, p. 4-5, par. 11(3), and Ex. C.
                                                 5
Case 2:11-cr-00984-RJS Document 289 Filed 02/03/17 PageID.3697 Page 6 of 17




     4. $13,487.32 in legal fees for pursuing and enforcing the civil judgment against Ursula

Andres and the Andres Home. These fees were paid to the receivership’s Utah counsel, Manning

Curtis Bradshaw & Bednar, PLLC.25

        To summarize, the receivership incurred fees and expenses totaling at least $38,146.19 in

its effort to recover the equity from the Andres Home. The only amount the receivership recovered

as a result of all these efforts is the $16,734.89 in sale proceeds it received from CitiMortgage

when it finally foreclosed on the Andres Home.26 Therefore, the fees and costs the Mr. Klein

incurred as a direct result of his efforts to recover the equity in the Andres Home far exceed the

amount he ultimately recovered. Consequently, none of the proceeds from the home were ever

distributed to victims.

        On September 29, 2016, the United States filed a Motion to Amend Judgment to Identify

Victims Entitled to Restitution. In its Motion, the United States notified the Court that the

receivership was closing soon, and that the Final Restitution Order therefore needed to be amended

to order restitution payable directly to the victims. The United States recommended a pro rata

allocation of restitution between the victims,27 and requested that the Court credit to each of the

victims their share of the $2,237,917.6928 that the Receiver disbursed to them. The United States

stated that the funds the Receiver disbursed to the victims were recovered from third parties and

argued that these credits should therefore be divided between Defendant Holloway and Defendant




25
   Declaration of Wayne Klein, p. 5, par. 11(4), and Ex. D.
26
   Declaration of Wayne Klein, p. 5-6, par. 12.
27
   The total restitution ordered was $18,491,310.39 whereas the victims’ total losses were
$19,117,265.21. Therefore, the United States requested that the victims be allocated a share of
restitution equal to 96.73% of their loss.
28
   Later increased to $2,237,920.11 to include the Receiver’s own distribution to victim H.Z.
                                                 6
Case 2:11-cr-00984-RJS Document 289 Filed 02/03/17 PageID.3698 Page 7 of 17




Andres according to their proportionate share of the total amount of restitution ordered.29 The

undersigned believed this statement to be true because the foreclosure funds were not included in

the Receiver’s distributions to the victims. The Court granted the United States’ Motion to Amend

on October 4, 2016.30

       However, after the Court granted the United States’ Motion, Defendant Andres filed a

Response to the United States’ Motion arguing that, contrary to the United States’ Certificate of

Service, the Motion was not mailed until October 12, 2016, and he did not receive it until October

17, 2016. He also stated objections to the United States’ proposed distribution of restitution credit

between him and Defendant Holloway but did not mention the foreclosure of his home or the

$16,734.89 recovered therefrom.31 In light of Mr. Andres’ Response, the Court vacated its Order

of October 4, 2016.32 The United States replied and stated it had no objection to the Court hearing

Mr. Andres’ Response, and presented additional briefing to support its proposed distribution.33

After considering the briefing of both parties, the Court again granted the United States’ Motion

to Amend.34

       Subsequently, Defendant Andres filed a document entitled “Notice to the Court,” in which

he asserted a new argument that he should receive credit towards his restitution obligation for

$16,734.89 received from the sale of his home.35 The Court characterized this document as a



29
   Dkt. 115.
30
   Dkt. 116.
31
   Dkt. 118.
32
   Dkt. 119.
33
   Dkt. 120.
34
   Dkt. 121.
35
   Mr. Andres did not state specifically that these funds came from the foreclosure on his home,
but by cross-referencing the recovery amount with its own records the United States was able to
deduce that Mr. Andres was referring to the foreclosure.
                                                 7
Case 2:11-cr-00984-RJS Document 289 Filed 02/03/17 PageID.3699 Page 8 of 17




“Motion for Timely Mailings and Proper Restitution Credit” on the docket (herein “Andres’

Motion”).36 The United States opposed Defendant Andres’ request for restitution credit arguing

that the Receivership actually received a net negative amount from the foreclosure, and that the

law of the case doctrine barred Andres from requesting a redistribution of credits already allocated

in the Court’s Order of November 21, 2016.37 On January 17, 2017, the Court granted Andres’

Motion and directed the United States “to credit Andres’s restitution balance with the full

$16,734.89, and to remove from Holloway’s balance whatever portion of that amount was credited

to him.”38

       The United States respectfully requests that the Court reconsider its ruling because the

victims never received any of the foreclosure funds that the Receiver recovered from the Andres

Home. The fees and costs the Receiver incurred as a direct result of his efforts to recover the

equity in the Andres Home far exceed the $16,734.89 that he ultimately recovered resulting in a

net negative to the receivership. Therefore, the United States cannot remove any credit from Mr.

Holloway’s balance as the Court has directed. Indeed, the addition of $16,734.89 to Andres’ credit

would result in a loss of the same amount to the victims. It would be manifest injustice for the

victims to receive a shortfall while Mr. Andres receives a windfall, particularly where the shortfall

was caused in large part by the Andreses’ attempts to prevent the Receiver from recovering assets

that Mr. Andres fraudulently obtained and fraudulently transferred to his wife. Consequently, this

Court should reconsider granting Mr. Andres’ motion.




36
   Dkt. 122.
37
   Dkt. 123.
38
   Dkt. 124.
                                                 8
Case 2:11-cr-00984-RJS Document 289 Filed 02/03/17 PageID.3700 Page 9 of 17




           On January 25, 2017, while drafting this Motion, Mr. Klein told the undersigned counsel

that there was $896.19 in the receivership defendants’ accounts when the receivership was created,

and mentioned for the first time that these funds were included in his distributions to the victims.

This information contradicted Mr. Klein’s previous statement that “All the money we have

recovered (and sent to victims) came from people we have sued.” 39 In light of this new

information, the undersigned acknowledges that her statement that, “the funds disbursed by the

Receiver were recovered solely from third parties”40 was incorrect. Unlike the $16,734.89 in

foreclosure proceeds, the $896.19 in the receivership defendants’ accounts was not absorbed by

the Receiver’s costs and expenses related to the recovery of those accounts, and therefore these

funds are considered part of the Receiver’s total distribution. The undersigned apologizes for this

mistake. Under the Court’s Order of November 21, 2016, the Defendants were each given a

proportionate share of the credit for these funds. However, because some of these funds are

traceable to the individual Defendants, the United States recommends that the funds held in

Defendant Holloway’s and Defendant Andres’ personal accounts be credited to their respective

restitution balances.

                                            ARGUMENT

      I.      GRANTING MR. ANDRES’ MOTION WORKS AN INJUSTICE TO VICTIMS
              BECAUSE IT REQUIRES THEM TO BEAR THE BURDEN OF RECEIVER
              FEES THAT WERE INCURRED AS A RESULT OF MR. ANDRES’ FRAUD.

           This Court should reconsider its prior ruling and deny Mr. Andres credit for the proceeds

from his home that were never distributed to his crime victims. Whether in criminal or civil cases,




39
     Declaration of Wayne Klein, p. 6, par. 13-14; Dkt. 124-1.
40
     Dkt. 115, p. 8.
                                                   9
Case 2:11-cr-00984-RJS Document 289 Filed 02/03/17 PageID.3701 Page 10 of 17




motions for reconsideration are proper to correct injustice. United States v. Randall, 666 F.3d

1238, 1241-42 (10th Cir. 2011) (recognizing that motions to reconsider filed in criminal cases to

correct injustice is authorized by the Supreme Court); Servants of Paraclete v. Does, 204 F.3d

1005, 1012 (10th Cir. 2000) (recognizing that motions to reconsider are appropriate in civil cases

to, among other things, correct injustice). As shown below, Mr. Andres should not be given any

credit towards his restitution for the proceeds of the foreclosure of his home because none of that

money reached any of his victims. The Court’s decision would require Mr. Andres’ victims to

bear the burden of the Receiver’s fees and costs, and thus would work a shortfall for them and a

windfall for Mr. Andres.

       Determining whether a receiver’s distributions should be credited to the victims’ and

defendants’ restitution balances should be a victim-centric inquiry; not a defendant-centric inquiry.

This is because, in the Tenth Circuit, the sole purpose of restitution is to compensate victims. See,

e.g., United States v. Kieffer, 596 F. App’x 653, 664 (10th Cir. 2014) (unpublished) (“Tenth Circuit

precedent is clear that restitution is a civil remedy designed to compensate victims—not a criminal

penalty.”); United States v. Serawop, 505 F.3d 1112, 1123 (10th Cir. 2007) (“Despite plausible

arguments from other circuits that ‘[c]riminal restitution rests with one foot in the world of criminal

procedure and sentencing and the other in civil procedure and remedy,’ in this circuit, restitution’s

two feet remain squarely planted in the field of compensation and remediation.” (citation

omitted)); United States v. Nichols, 169 F.3d 1255, 1279 (10th Cir. 1999) (holding that the purpose

of the MVRA is “not to punish defendants or to provide a windfall for crime victims but rather to

ensure that victims, to the greatest extent possible, are made whole for their losses”). Congress

manifested this intention in 18 U.S.C. § 3664(j)(2), which provides that “[a]ny amount paid to a


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Case 2:11-cr-00984-RJS Document 289 Filed 02/03/17 PageID.3702 Page 11 of 17




victim under an order of restitution shall be reduced by any amount later recovered as

compensatory damages for the same loss by the victim in any Federal civil proceeding and any

State civil proceeding, to the extent provided by the law of the State.” (Emphasis added).

Interpreting section 3664(j)(2)’s plain language, as the law requires,41 the meaning of the word

“recover” means “[T]o get back; regain.” Recover, WEBSTER’S II NEW COLLEGE DICTIONARY (3d

ed. 2005). Similarly, the word “compensate” means, “To make up for or offset . . . To make

payment or reparation to.” Compensate, WEBSTER’S II NEW COLLEGE DICTIONARY (3d ed. 2005).

Thus, Congress clearly indicated that the only way to measure restitution to victims is by the

amount that the victims actually recover as compensation for their crime-induced losses. See also

18 U.S.C. § 3664(f)(1)(A) (requiring defendants to compensate their victims for the full amount

of loss regardless of defendant’s ability to pay). Consequently, the statutory authority that requires

the court to credit external recoveries to a defendant’s restitution obligation hinges on what the

victims received, not on what the Defendants paid.

       No authority exists to change this victim-centric approach when a receiver is involved. In

a receivership, the receiver is entitled to retain the portion of the recovered assets necessary to

cover the receiver’s own fees and costs. 28 U.S.C. § 3103. The remainder of the receivership

funds are then disbursed to the claimants or victims. Therefore, the victims necessarily receive

less than the full amount of the assets that the receiver recovers. If defendants were given full

restitution credit for all of the funds recovered by a receivership, regardless of whether those funds

were disbursed to victims, then the credits would exceed the victims’ actual recoveries, which is




41
 FDIC v. Canfield, 967 F.2d 443, 445 (10th Cir. 1992) (“As in any case of statutory interpretation,
we begin with the plain language of the law.” (citations and quotations omitted)).
                                                11
Case 2:11-cr-00984-RJS Document 289 Filed 02/03/17 PageID.3703 Page 12 of 17




contrary to statute and deprives victims of the restitution to which they are entitled. Instead, a

defendant should bear the burden of any loss sustained from a receiver’s participation because, but

for the fraud, a receiver would not have been needed in the first place.

         Given these principles, Mr. Andres is not entitled to credit for any of the proceeds from the

foreclosure on his home. Although the Receiver collected $16,734.89 in proceeds from the

foreclosure of Mr. Andres’ home, the Receiver noted numerous expenses. These expenses were

necessary to: (1) manage the property to keep its value for the sale; (2) take legal actions to obtain

marketable title, which meant undoing the web of title that Mr. Andres and his wife had spun; and

(3) receiving a fee for the work the Receiver did. Indeed, the Receiver’s legal fees alone exceeded

the $16,734.89 he recovered. Because Mr. Klein’s efforts to recover the foreclosure sale proceeds

resulted in a net negative recovery, none of the foreclosure funds ever reached the victims, and,

therefore, giving Mr. Andres credit for money that his victims did not receive works a manifest

injustice to those whom Mr. Andres previously defrauded.

   II.      THE UNDERSIGNED COUNSEL DID NOT INTENTIONALLY MISLEAD
            THE COURT IN ITS MOTION TO AMEND; HOWEVER, NEW
            INFORMATION INDICATES THAT $896.19, WHICH BELONGED TO THE
            INDIVIDUAL AND ENTITY RECEIVERSHIP DEFENDANTS, WAS
            DISBURSED TO VICTIMS.

         Naturally, this Court may wonder why this level of detail was not presented before this

motion. To the extent this is the case, the undersigned unequivocally states that I never sought to

mislead this Court in any way. Instead, my failure to provide this level of detailed information

was based on my misunderstanding of the level of detail necessary to illustrate the argument above

in addition to incomplete information that I received from the Receiver. I apologize for not




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Case 2:11-cr-00984-RJS Document 289 Filed 02/03/17 PageID.3704 Page 13 of 17




anticipating that the Court would want to consider the information regarding the foreclosure of

Mr. Andres’ home.

       In the Motion to Amend, the undersigned made statements regarding the source of the

funds that were distributed to the victims, not the source of the Receiver’s recoveries.42 This is

more than a technical distinction. The Receiver stated in his email that “All the money we have

recovered (and sent to victims) came from people we have sued. These include overpaid investors,

business associates, law firms, credit card companies, etc.”43 The Receiver also said in his email

that the foreclosure funds were completely absorbed by the Receiver’s costs in recovering those

funds resulting in a net negative. From this statement, the undersigned concluded that none of the

foreclosure funds were disbursed to the victims. Therefore, the undersigned’s statement that all

funds “distributed to victims” were recovered from third parties is not only technically true, but,

based on the information the Receiver provided, I believed it was actually true.

       However, on January 25, 2017, while drafting this Motion, the undersigned learned that

this was not actually true. Mr. Klein notified the undersigned that when he was first appointed as

Receiver there was $896.19 in the Defendants’ combined bank accounts.44 The Receiver did tell

the undersigned in his email of September 14, 2016, that “[w]hen the case was first started, there

was less than $1,000 in the combined bank accounts of all companies and individual defendants,”




42
   “The receivership has distributed $2,237,917.69 in recovered funds to the victims as set forth in
column F. Those funds must be credited to the restitution balances. According to Mr. Klein, the
funds he distributed did not come from the Defendants, but rather came from third parties that the
receivership sued, such as overpaid investors, business associates, law firms, credit card
companies, etc.” Dkt. 115, p. 5 (emphasis added). “However, in this case, the funds distributed
by the Receiver were recovered solely from third parties.” Dkt. 115, p. 8 (emphasis added).
43
   Dkt. 123-1, p. 1 (emphasis added).
44
   Declaration of Wayne Klein, p. 6, par. 13-14.
                                                13
Case 2:11-cr-00984-RJS Document 289 Filed 02/03/17 PageID.3705 Page 14 of 17




but he did not say that those funds were disbursed to victims. Rather, he said (as quoted above)

that “all the money” he recovered and sent to victims “came from people we sued.”45 On January

25, 2017, the Receiver notified the undersigned that, in fact, these funds were disbursed to the

victims.46 Of the $896.19 held in the Defendants’ combined bank accounts, $78.96 was recovered

from Holloway personally; $78.96 was recovered from a businesses owned by Holloway; $142.30

was recovered from Andres personally; $544.92 was recovered from businesses owned by Andres;

and $51.05 came from an unknown source.47 Of the $896.19 that was held by the receivership’s

entity and individual defendants, the United States recommends crediting Holloway’s personal

$78.96 to his restitution balance, crediting Andres’ personal $142.30 to his restitution balance, and

allocating credit for the remaining $674.93 to Holloway and Andres according to their

proportionate share of the total restitution obligation.48 The United States recommends against

crediting the businesses’ funds to the Defendant who owned the business, because

(1) from a legal perspective, funds of a business are not funds owned by the business owner, and

(2) those funds may be derived from investments made by the victims of both Mr. Holloway and

Mr. Andres.

       The undersigned understands the Court’s frustration that the information regarding the

foreclosure of Andres’ home was not presented to the Court in its Motion to Amend and in

hindsight agrees that it should have been included and apologizes for the fact that it was not. The

undersigned also should have pressed the Receiver for more information regarding the “$1000 in



45
   Dkt. 123-1, p. 1.
46
   Declaration of Wayne Klein, p. 6, par. 14.
47
   Declaration of Wayne Klein, p. 6-7, par. 15-16.
48
   The proportionate share the Court awarded in its Order of November 21, 2016, is 82.2% to
Robert Holloway and 17.8% to Robert Andres. Dkt. 115, p. 5-6, par. 10; Dkt. 121, p. 2, par. 2.
                                                14
Case 2:11-cr-00984-RJS Document 289 Filed 02/03/17 PageID.3706 Page 15 of 17




the combined bank accounts” 49 of the defendants to determine whether these funds were disbursed

to the victims. The undersigned omitted the foreclosure information from the Motion to Amend

because, for all the reasons stated in this Motion, I simply did not think it was relevant. It seemed

clear to me that if none of the foreclosure funds reached the victims, then they should not be

included in the credits to the victims’ or the Defendants’ restitution balances. The undersigned

was focused on solving the problem of how to allocate restitution between victims whose total

losses exceeded the amount of the restitution order, crediting the victims’ restitution balances for

the funds they recovered from the receivership, and determining the fairest way to divide those

credits between the two Defendants. Any failure on the part of the undersigned or the Receiver

should not harm the innocent victims that Mr. Andres defrauded.

                                               CONCLUSION

           For the reasons stated above, this Court should reconsider giving Mr. Andres credit for the

$16,734.89 recovered by the Receiver from the foreclosure of his home. The United States further

requests that the court credit $78.96 to Holloway’s restitution balance and $142.30 to Andres’

restitution balance. The remaining $2,237,698.85 of the Receiver’s total distributions to the

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49
      Dkt. 123-1, p. 1.
                                                   15
Case 2:11-cr-00984-RJS Document 289 Filed 02/03/17 PageID.3707 Page 16 of 17




victims50 should be credited to Holloway and Andres based on their proportionate share of the total

restitution debt – 82.2% to Holloway and 17.8% to Andres.51

       DATED this 3rd day of February, 2017.


                                               JOHN W. HUBER
                                               United States Attorney

                                               /s/ Allison J.P. Moon
                                               ALLISON J.P. MOON
                                               Assistant United States Attorney




50
  $2,237,920.11 - $78.96 - $142.30 = $2,237,698.85.
51
   In its order of January 17, 2017, the Court directed the United States to “remove from
Holloway’s balance whatever portion of [the $16,734.89 in foreclosure funds] was credited to
him.” First, the Clerk of the Court is the official record keeper for restitution debts, and therefore,
the Court’s directive would more appropriately be addressed to the Clerk. Second, Holloway did
not receive any credit for the $16,734.89 under the Court’s previous order because those funds
never reached the victims. Therefore, if the Court denies this Motion for Reconsideration and
affirms its Order of January 17, 2017, then the United States requests that the Court specify the
amount the Clerk is to remove from Holloway’s credit and add to Andres’ credit. Using these
numbers, the Clerk and the United States can recalculate how much each Defendant owes to each
victim.
                                                  16
Case 2:11-cr-00984-RJS Document 289 Filed 02/03/17 PageID.3708 Page 17 of 17




                                 CERTIFICATE OF SERVICE

       I hereby certify that I am an Assistant U.S. Attorney for the United States Attorney’s Office

for the District of Utah and that copies of the United States’ MOTION FOR

RECONSIDERATION OF DEFENDANT ANDRES’ MOTION FOR APPLICATION OF

FORECLOSURE PROCEEDS TO                RESTITUTION BALANCE, the DECLARATION OF

RECEIVER WAYNE KLEIN IN SUPPORT OF MOTION FOR RECONSIDERATION and

exhibits thereto, and the Court’s ORDER of January 17, 2017 were served upon the parties by

placing a copy of same in the United States mail, postage prepaid, this 3rd day of February, 2017,

addressed as follows:

                        Robert Andres, Inmate No. 71972-279
                        FCI Englewood
                        9595 West Quincy Avenue
                        Littleton, CO 80123
                        Defendant

                        Robert L. Holloway, Inmate No. 29851-298
                        FCI Fort Worth
                        PO Box 15330
                        Fort Worth, TX 76119
                        Defendant


                                             /s/ Allison J.P. Moon
                                             Allison J.P. Moon




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